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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                    Plaintiff(s),              CASE NUMBER: 05-80025
                                               HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/


                                        ORDER

      This matter is before the Court on Defendant Timothy O’Reilly’s “Emergency

Motion to Exclude Zouelfikar Nehmeh as a Government Guilt Witness and for a

Determination Before Opening Statements.” (Doc. #574). O’Reilly says the

Government should be prohibited from calling Nehmeh as a witness during the guilt

phase of the trial, and from making reference to him as a witness during its opening

statement.

      Oral argument was heard on July 12, 2010.

      For the reasons stated on the record, O’Reilly’s motion is DENIED. The

Government may introduce O’Reilly’s alleged murder for hire plot with Nehmeh to rebut

O’Reilly’s position that he could not act independently of co-Defendant Norman Duncan.




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        IT IS ORDERED.


                                                 s/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: July 21, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 July 21, 2010.

 s/Linda Vertriest
 Deputy Clerk




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